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GAS 245B         (Rev.06/21)Judgment in a Criminal Case
DC Custody TSR



                                        United States District Court
                                                    SOUTHERN DISTRICT OF GEORGIA
                                                             WAYCROSS DIVISION

             UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                                 V.

                  Jackie Kavaskia McMillan
                          a/ka/ "Biiav"'                                        Case Number:                5:20CR00007-1

                                                                                 USM Number:                26199-509




                                                                                 Daveniya E. Fisher
                                                                                 Defendant's Attorney
THE DEFENDANT:

lEI pleaded guiltv to a lesser included offense of Count 1 ofthe Indictment.
□ pleaded nolo contendere to Count(s)                 which was accepted by the court.
□ was found guilty on Count(s)                 after a plea of not guilty.

The defendant is adjudicated guilty of this offense:

Title & Section                    Nature of Offense                                                                Offense Ended          Count


21 U.S.C. §846,21 U.S.C.           Conspiracy to possess with intent to distribute, and to distribute, 5             May 20,2020              1
§841(b)(1)(B),and 21               grams or more of methamphetamine and a mixture or substance
U.S.C. §841(a)(1)                  containing a detectable amount of marihuana

      The defendant is sentenced as provided in pages 2 through                       of this Judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on Count(s)
□ Count(s)                                  □ is □ are dismissed as to this defendant on the motion of the United States.

          It is ordered that the defendant must notify the United States Attomey for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fiilly paid. If ordered to
pay restitution, the defendant must notify the Court and United States Attomey of material changes in economic circumstances.

                                                                             July 29. 2022
                                                                             Dato^f Imposifion of Ju^ment




                                                                             Stgjfrature of Judge


                                                                             LISA GODBEY WOOD
                                                                             UNITED STATES DISTRICT JUDGE
                                                                             Name and Title of Judge


                                                                             Date
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DEFENDANT:                   Jackie Kavaskia McMillan
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                                                                 IMPRISONMENT


            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
            444 months, to be served consecutively to the prison term he is currently serving in Coffee County Superior Court,
            Docket Number 2001R-08-184.


     IE!    The Court makes the following recommendations to the Bureau of Prisons:
            It is recommended that the defendant be evaluated by Bureau of Prisons officials to establish his participation in an
            appropriate program of substance abuse treatment and counseling, including the Residential Drug Abuse Program
            (RDAP),during his term of incarceration.

     El     The defendant is remanded to the custody of the United States Marshal.

     □      The defendant shall surrender to the United States Marshal for this district:

           □     at                                 □     a.m.    □ p.m.           on                                        .
           □     as notified by the United States Marshal.

     □      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           □     before 2 p.m. on                                                        .
           □     as notified by the United States Marshal.

           □     as notified by the Probation or Pretrial Services Office.


                                                                      RETURN

I have executed this judgment as follows:




           Defendant delivered on                                                            to

at                                                      , with a certified copy of this judgment.


                                                                                                       UNITED STATES MARSHAL




                                                                              By
                                                                                                    DEPUTY UNITED STATES MARSHAL
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